        Case 9:18-cv-00073-DWM Document 20 Filed 06/27/19 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT                       FILED
                      FOR THE DISTRICT OF MONTANA                              JUN 27 2019
                           MISSOULA DIVISION
                                                                            Cl rk U   s   Di&trict c ourt
                                                                             eo;strict Of Montana
                                                                                      Missoula


CARLA MARIE WIGTON,                                  CV 18-73-M-DWM

                      Plaintiff,

        vs.                                                 ORDER

DAVID THOMAS MURPHY and SHENI,
LLP,

                      Defendants.


      Plaintiff Carla Marie Wigton and Defendant Sheni LLP having filed a

stipulation for dismissal pursuant to Rule 41 (a),

      IT IS ORDERED that the plaintiffs claims against Sheni LLP are

DISMISSED WITH PREJUDICE, each party to pay its own costs.

      DATED this .tJ½'ay of June, 2019.




                                                     lloy, District Judge
                                                      istrict Court
